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 1
                                UNITED STATES DISTRICT COURT
 2                            SOUTHERN DISTRICT OF CALIFORNIA
 3
     MS. L, et al.,                                      Case No. 18cv428 DMS MDD
 4
 5                    Petitioners-Plaintiffs,
                                                         JOINT STATUS REPORT
 6         vs.
 7
   U.S. IMMIGRATION AND CUSTOMS
 8 ENFORCEMENT, et al.,
 9
                      Respondents-Defendants.
10
11         On November 5, 2021, the Court ordered the parties to file a Joint Status Report

12 (JSR) by January 5, 2022, in anticipation of the status conference scheduled for
13
     11:30 am on January 7, 2022. ECF No. 623. In accordance with this order of the
14
15 Court, the parties provide the below JSR.
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     I.       DEFENDANTS’ POSITIONS
 1
 2         A. Update Regarding Government’s Implementation of Settlement
 3            Agreement

 4           SETTLEMENT                       DESCRIPTION                             NUMBER
                PROCESS
 5       Election Forms 1                Total number of executed              455 (266 Parents/189
                                         election forms received                    Children)2
 6                                       by the Government
                                            • Number who elect                 293 (163 Parents/130
 7                                              to receive                           Children)
 8                                              settlement
                                                procedures
 9                                          • Number who                       162 (103 Parents/59
                                                waive settlement                    Children)3
10                                              procedures
11       Interviews 4                    Total number of class                            1865
                                         members who received
12                                       interviews
13                                          • Parents who                                 100
                                                received
14                                              interviews
                                            • Children who                                 86
15                                              received
                                                interviews
16
17
18   1
      The number of election forms reported here is the number received by the Government as of January 3,
     2022.
19   2
       The number of children’s election forms is lower than the number of parent election forms because in
     many instances a parent electing settlement procedures submitted an election form on his or her own behalf
20   or opposing counsel e-mailed requesting settlement implementation for the entire family, but no separate
     form was submitted on behalf of the child.
21   3
       The number of children’s waivers is lower because some parents have submitted waivers only for
22   themselves and some parents who have waived reunification also waived settlement procedures and have
     therefore not provided a form for the child.
23   4
       USCIS has adjusted its recordkeeping for tracking class member interviews and decisions pursuant
     to the settlement agreement. As a result, beginning with the November 3, 2021 Joint Status Report, the
24   number of interviews and decisions reported differs slightly from prior reports and provides more
     accurate information on settlement implementation.
25   5
       Some individuals could not be interviewed because of rare languages; these individuals were placed in
26   Section 240 proceedings. This number includes credible fear and reasonable fear interviews, as well as
     affirmative asylum interviews.
27
28

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 1       Decisions                      Total number of CFI/RFI                          74 6
                                        decisions issued for
 2                                      parents by USCIS
                                            • Number of parents                          73 7
 3                                             determined to
 4                                             establish CF or RF
                                               upon review by
 5                                             USCIS
                                            • Number of parents                           1
 6                                             whose CF or RF
 7                                             finding remains
                                               negative upon
 8                                             review by USCIS
                                        Total number of CFI                              72 8
 9                                      decisions issued for
                                        children by USCIS
10
                                            • Number of                                  72 9
11                                             children
                                               determined to
12                                             establish CF by
                                               USCIS
13                                          • Number of                                   0
14                                             children
                                               determined not to
15                                             establish CF by
                                               USCIS
16                                      Total number of                                   33
17                                      affirmative asylum
                                        decisions by USCIS
18
19   6
       This number is the aggregate of the number of parents whose negative CFI/RFI determinations were
     reconsidered, number of parents whose negative CFI/RFI determination was unchanged, and individuals
20   who were referred to 240 proceedings without interview because of a rare language. This number excludes
     12 cases where a parent already had an NTA from ICE or was already ordered removed by an IJ (which are
21   included in the interview totals).
22   7
      This number includes parents who received positive CF/RF determinations upon reconsideration, parents
     who received a Notice to Appear based on their child’s positive CF determination, and parents who were
23   placed in Section 240 proceedings due to a rare language.
     8
      This number is the aggregate of the number of children who received a positive CF determination, the
24   number of children who received a negative CF determination, and children who were referred to 240
     proceedings without interview because of a rare language.
25   9
       This number includes children who received a positive CF determination, children who received a Notice
26   to Appear as a dependent on their parent’s positive CF determination, and children who were placed in
     Section 240 proceedings due to a rare language.
27
28

                                                        2                                      18cv428 DMS MDD
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                                              • Number of parents                            5
 1                                                granted asylum by
 2                                                USCIS
                                              • Number of parents                            8
 3                                                referred to
                                                  immigration court
 4                                            • Number of                                   6 10
 5                                                children granted
                                                  asylum by USCIS
 6                                            • Number of                                    14
                                                  children
 7                                                referred/returned
 8                                                to immigration
                                                  court
 9    Removals                             Number of class                           103 Parents11
10                                         members who have been
                                           returned to their country
11                                         of origin as a result of
                                           waiving the settlement
12                                         procedures
13
14         B. Updated Reunification Numbers

15             On March 4, 2020, the parties submitted a Joint Status Report containing reporting

16 on reunifications for the Original Class period. ECF No. 519. This was the final report of
17 these reunification numbers made to the Court and stated that the report reflected
18 “approximate numbers on these children maintained by ORR at least as of February 28,
19 2020.” Id. at 2. Based on the data and records then available to the government, the report
20 identified the final number of reunifications for a child with his or her separated parent
21 as 2,166. Id. at 3.
22             In the September 22, 2021 Joint Status Report, the government explained that, as

23 part of its work to identify and support families that were separated at the U.S.-Mexico
24 border, the Family Reunification Task Force (FRTF), with the assistance of DHS data
     personnel, reviewed all family separations known to have occurred between January 20,
25
26   10
          This number includes children granted asylum as a dependent on their parent’s asylum application.
27   11
          This number is as of January 3, 2022.

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 1 2017 and January 20, 2021, and classified the current reunification status of each
 2 separated child. See ECF No. 616 at 3-5 and Declaration of Marc Rosenblum, attached
 3 thereto. DHS’s review included a re-examination of the Legacy Ms. L. cases, and
 4 specifically of the 2,166 children identified to the court in the parties’ JSR as having been
 5 reunified with his or her separated parent. Id. DHS reported to the court at that time that
 6 only 2,124 of the previously reported verifications could be confirmed, and that DHS was
 7 unable to confirm the accuracy of 42 previously reported reunifications. Id. Following
 8 additional research based on further data provided by HHS and DHS Components, DHS
 9 is now able to confirm 2,138 of the previously reported reunifications; the Department is
10 still unable to confirm the accuracy of 28 previously reported reunifications.
11         The parties continue to work together to review these cases. DHS has continued—
12 and will continue—to share any updated numbers with Plaintiffs and identify to Plaintiffs
13 the individuals who are the subject of these updates. The parties agree that it is possible
14 that some of these children who were released to a sponsor other than the parent may
15 have since reunified with their parents in a manner that is not captured by the
16 government’s data, and the parties are working together to identify those cases. The
17 parties are committed to ensuring that these children and their parents are reunified and
18 receive all appropriate support.
19
        C. The President’s February 2, 2021 “Executive Order on the Establishment of
20         Interagency Task Force on the Reunification of Families”
21
           As noted in the parties’ March 10, 2021 filing, the parties have entered into
22
     settlement negotiations which remain ongoing, and the FRTF is continuing its work both
23
     in parallel and in conjunction with these settlement discussions. ECF No. 578. Since the
24
     creation of the FRTF, a total of 112 separated children have been reunified with parents
25
     in the U.S, and approximately 265 people have been paroled as of January 4, 2022. The
26
27
28

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 1 FRTF continues to focus on establishing contact with all families and working to increase
 2 the rate of reunifications.
 3             The parties are also discussing settlement issues on a regular basis, and the next
 4 formal Settlement Conference with Magistrate Judge Dembin is scheduled for January
 5 24, 2022. Issues previously reported by Defendants in joint status reports are now being
 6 addressed by the parties as part of the ongoing settlement negotiations.
 7 II.         MS. L. PLAINTIFFS’ POSITIONS
 8         A. Steering Committee Outreach to Sponsors and Parents of Children of
 9            Expanded Class Members
10
               The government has provided eleven lists identifying 1,134 children of
11
     expanded class members. The government has also identified 64 “recategorized”
12
     deported parents from the original class, who the Steering Committee has sought to
13
     contact as part of its efforts to reach members of the expanded class.12 The Steering
14
     Committee’s recent efforts have been targeted at locating the parents of this group
15
     of 1,198 (1,134 plus 64) children.13
16
               Of these 1,198 children, for 961 the Steering Committee has reached the
17
     parents (or their attorneys), or otherwise resolved the cases. This represents an
18
     increase of 33 children’s parents since our last status report. We describe below the
19
20
21   12
       In its portion of the December 12, 2018 Joint Status Report, the government disclosed the
22   existence of what we call the “Recategorized Original Class”, i.e., members of the original class
     who were not identified as part of the government’s initial disclosures in the summer of 2018. The
23   government only provided contact information for this group in February 2019, after the Steering
24   Committee’s efforts to contact original class members had concluded – and so, as a logistical
     matter, the Steering Committee has conducted outreach to the 64 parents in this group who were
25   deported following separation from their children, as part of the Steering Committee’s efforts to
     contact expanded class members.
26
     13
          Because some of the parents of these children entered with more than one child, there are 1,082
27 parents in this combined group.
28

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 1 status of our continuing efforts to reach the parents of the remaining 237 children,
 2 down from 270 in the last status report.
 3         The parents of 237 children fall into three groups; in all three, searches are
 4 ongoing. First, there are approximately 168 children whose parents are believed to
 5 have been removed from the United States following separation from their children.
 6 Second, there is a group of approximately 60 children whose parents are believed to
 7 be in the United States. Third, there is a group of nine children for whom the
 8 government has not provided a phone number for the parent, child, sponsor or
 9 attorney. There are two fewer children in this group since our last status report.
10         Steering Committee Efforts to Locate Parents
11         First, as previously reported, the Steering Committee attempts to reach all
12 parents, sponsors and attorneys by telephone. The Steering Committee has renewed
13 these efforts and has continued its efforts to reach parents, where possible, by using
14 the additional contact information provided by the government in late 2020 from
15 databases of the Executive Office for Immigration Review and U.S. Customs and
16 Immigration Enforcement. This information includes phone numbers that had not
17 previously been disclosed for children and parents, as well as contact information
18 for a number of attorneys.
19         Where those efforts are not successful, the Steering Committee has engaged
20 in time-consuming and arduous on-the-ground searches for parents. These on-the-
21 ground searches have been focused abroad in the countries of origin of parents who
22 were removed from the United States following separation from their children.
23 These searches are ongoing by members of the Steering Committee, and over the
24 last several months we have devoted additional resources to these efforts. As
25 previously reported, on-the-ground searches for separated parents are ongoing when
26 it is safe to do so, but are limited and in some cases cannot take place due to risks
27 associated with the COVID-19 pandemic.
28

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 1         Also, as previously reported, the Steering Committee has established toll-free
 2 telephone numbers in the United States, Guatemala, Honduras, Mexico and El
 3 Salvador to receive inbound phone calls from potential members of the expanded
 4 class. The Steering Committee has distributed this number both by email and U.S.
 5 Mail to a number of non-governmental organizations and other community
 6 organizations in the United States, who may be able to help us locate parents because
 7 they work in the communities these parents are likely to have contact with. In
 8 addition, the Steering Committee sent letters in Spanish and English to
 9 approximately 1,600 addresses provided by the government for the potential class
10 members that the Steering Committee has not yet reached. These letters explain our
11 role in this action and invite parents to contact the Steering Committee to call these
12 toll-free numbers. The Steering Committee continues to monitor a voicemail box
13 reachable via these toll-free numbers, and plans to renew its mailing effort with the
14 new address information received for children and their attorneys from the
15 government.
16         Additionally, as previously reported, the Steering Committee has undertaken
17 broad-based media outreach efforts to publicize the toll-free phone numbers created
18 by the Steering Committee in Spanish language media. The Steering Committee has
19 also arranged for advertisements on Spanish language radio in Central America.
20 hose advertisements have aired over the last several months.            The Steering
21 Committee continues to work to identify opportunities to broadly disseminate the
22 toll-free numbers through various media to maximize visibility to potential Ms. L.
23 class members, including seeking to collaborate on such media outreach initiatives
24 with other non-profit organizations.
25         The Steering Committee also receives additional contact information for a
26 limited number of families from third parties, including a number of non-
27 governmental organizations. The Steering Committee uses that information to re-
28

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 1 attempt telephonic communication with all families for whom new contact
 2 information has become available, in addition to the efforts underway using new
 3 information provided by the government as described above.
 4
     III.   MMM-Dora Plaintiffs’ Report Regarding Settlement Implementation
 5
 6          The parties continue to work together to implement the Settlement Agreement
 7 approved on November 15, 2018. Class counsel are providing the Government with
 8 signed waiver forms as they are received from class members, and class counsel are
 9 continuing to work on outreach efforts to class members who may qualify for relief under
10 the settlement. The parties continue to meet and confer on issues related to settlement
11 implementation as they arise.
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     DATED: January 5, 2022          Respectfully submitted,
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